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Randall B. Reed, Wyo. Bar No. 5-2863
Aaron J. Lynle, Wyo. Bar No". 7-4726
Long Reimer Winegar Beppler LLP
2120 Carey Avenue, Suite 300
Cheyenne, WY 82001

(307) 635-0710_Te1ephone

(307) 635-0413_Facsimile
rreed@lrw-law.com
alyttle@lrw-law.com

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF WYOMING

SOCIETE GENERALE,
Plaintiff Stakeholder,

V.

ESCALERA RESOURCES CO.; EOG A
RESOURCES, INC. f/k/a ABO PETROLEUM
CORP.; ANADARKO PETROLEUM
CORPORATION; BLACKSTONE NATURAL
RESOURCES II, L.P.; BLACK STONE
MINERALS COMPANY, L.P. f/k/a
BLACKSTONE NATURAL RESOURCES II-B;
CECIL RAY WEBER REVOCABLE TRUST;
JACQUELINE E. CHORNEY; CLARENCE J.
WENDT; DEANNA MORRISON; FREILLC-II;
FRIENDS OF THE AMERICAS; FRONT RANGE
ENERGY INVESTORS LLC; GEORGE R.
SALISBURY JR. MINERAL TRUST; IRW
HOLDING COMPANY, LLC; JACK CREEK
LAND AND CATTLE COMPANY; THE JANE
ELIZABETH ELWING TRUST; JOEL I.
BERSON; WELDON C. JULANDER TRUST;
KATHLEEN S. WEBER REVOCABLE TRUST;
MAP 2003, L.L.C.; MAP 2004, L.L.C.; MARK S.
DOLAR REVOCABLE TRUST; JANET K.
DOLAR REVOCABLE TRUST; MARSHALL &
WINSTON, INC.; MERIT ENERGY COMPANY,
LLC; MERIT ENERGY PARTNERS III, L.P.;
MERIT MANAGEMENT PARTNERS I, L.P. f/k/a
MERIT PARTNERS; M M ENERGY, INC.; EOG

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M RESOURCES, INC. f/k/a MYCO INDUSTRIES
INC.; NORTH FINN LIMITED LIABILITY
COMPANY; O’CONNELL PARTNERS, L.P.;
PIDGEON CAY ASSOCIATES, LLC; RJG LLC;
SOCCORO PROPERTIES, LLC; STELBAR OIL
CORPORATION, INC.; THE ALLAR
COMPANY; TOURMALINE EXPLORATION
COMPANY, LLC; WALTER S. FEES, JR. & SON
OIL AND GAS, LLC; WHITE ENERGY CORP.;
WILLlAMSON ENTERPRISES, LLC; OXY Y-l
COMPANY f/k/a YATES DRILLING
COMPANY; and EOG Y RESOURCES, INC. f/k/a
YATES PETROLEUM CORPORATION,

Defendant Claimants.

VVV\/\/\/\/\/\/\/\/\/\/\/\/V

COMPLAINT FOR INTERPLEADER AND DECLARATORY RELIEF

Plaintiff Stakeholder, Société Générale, by and through its attorneys Long Reimer Winegar
Beppler LLP, and pursuant to Federal Statute 28 U.S.C. § 1335, files its Complaint For
Interpleader and Declaratory Relief against Defendant Claimants, Escalera Resources Co., EOG
A Resources, Inc. f/k/a ABO Petroleum Corp., Anadarko Petroleum Corporation, Blackstone
Natural Resources II, L.P., Black Stone Minerals Company, L.P. f/k/a Blackstone Natural
Resources II-B, L.P., Cecil Ray Weber Revocable Trust, Jacqueline E. Chorney, Clarence J.
Wendt, Deanna Morrison, FREILLC-II, Friends of the Americas, Front Range Energy Investors
LLC, George R. Salisbury Jr. Mineral Trust, IRW Holding Company, LLC, Jack Creek Land and
Cattle Company, The Jane Elizabeth Elwing Trust, Joel I. Berson, Weldon C. Julander Trust,
Kathleen S. Weber Revocable Trust, MAP 2003, L.L.C., MAP 2004, L.L.C., Mark S. Dolar
Revocable Trust, Janet K. Dolar Revocable Trust, Marshall & Winston, Inc., Merit Energy

Company, LLC, Merit Energy Partners III, L.P., Merit Management Partners I, L.P. f/k/a Merit

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Partners, M M Energy, Inc., EOG M Resources, Inc. f/k/a MYCO Industries, Inc., North Finn
Limited Liability Company, O’Connell Partners, L.P., Pidgeon Cay Associates, LLC, RJG, LLC,
Soccoro Properties, LLC, Stelbar Oil Corporation, Inc., The Allar Company, Tourmaline
Exploration Company, LLC, Walter S. Fees, Jr. & Son Oil and Gas, LLC, White Energy Corp.,
Williamson Enterprises, LLC, Oxy Y-l Company f/k/a Yates Drilling Company, and EOG Y
Resources, Inc. f/k/a Yates Petroleum Corporation, and alleges as follows:
NATURE OF ACTION

l. This is an action for statutory interpleader pursuant to 28 U.S.C. § 1335. The
Plaintiff Stakeholder, Société Générale, a French corporation, has possession of certain funds in a
bank account that were obtained through agreed turnover following a dismissed bankruptcy
proceeding in which Defendant Claimant, Escalera Resources Co., was the debtor. The Defendant
Claimants in this action may each assert the right to take possession of certain portions of these
funds in which the Plaintiff Stakeholder itself has no interest or entitlement Therefore, the purpose
of this interpleader action is to resolve the conflicting claims to these funds and to relieve Société
Générale of any liability for possession of them.

PARTIES, JURISDICTION, AND VENUE

2. Plaintiff Stakeholder, Société Générale, is a foreign financial services company
organized under the laws of France with its principal place of business in France.

3. Defendant Claimant Escalera Resources Co., is a company organized under the
laws of Maryland with its principal place of business in Colorado. This Defendant Claimant may

be served by and through its registered agent, Carl Osborne, 2431 E. 6th, Casper, Wyoming 82601.

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4. Upon information and belief, Defendant Claimant EOG A Resources, Inc. f`/k/a
ABO Petroleum Corp. is a corporation organized under the laws of New Mexico with its principal
place of business in New Mexico. This Defendant Claimant may be served by and through its
registered agent CT Corporation System, 1908 Thomes Ave., Cheyenne, Wyoming 82001.

5. Upon information and belief, Defendant Claimant Anadarko Petroleum
Corporation is a corporation organized under the laws of Delaware with its principal place of
business in Texas. This Defendant Claimant may be served by and through its registered agent
CT Corporation System, 1908 Thomes Ave., Cheyenne, Wyoming 82001.

6. Upon information and belief`, Defendant Claimant Blackstone Natural Resources
II, L.P. is a limited partnership organized under the laws of Delaware with its principal place of
business in Texas. This Defendant Claimant may be served by and through its registered agent
Corporation Trust Company, 1209 Orange Street, Wilmington, Delaware 19801.

7. Upon information and belief, Defendant Claimant Black Stone Minerals Company,
L.P., the successor by merger to Blackstone Natural Resources II-B, L.P., is a Delaware Limited
Partnership with its principal place of business in Texas. This Defendant Claimant may be served
by and through its registered agent CT Corporation System, 1908 Thomes Ave., Cheyenne,
Wyoming 82001.

8. Upon information and belief, Defendant Claimant Cecil Ray Weber Revocable
Trust is a trust administered under the laws of the State of Wyoming. This Defendant Claimant
may be served by and through its trustee, Cecil Ray Weber, at 125 County Road 702, Baggs,

Wyoming 82321.

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9. Upon information and belief, Defendant Claimant Jacqueline E. Chomey is an
individual residing in New York and may be served at 32 E. 76th Street Apt. PH, New York, New
York 10021.

10. Upon information and belief, Defendant Claimant Clarence J. Wendt is an
individual residing in Nevada and may be served at 5004 E. Albuquerque Road, Reno, Nevada
89511.

11. Upon information and belief, Defendant Claimant Deanna Morrison is an
individual residing in Colorado and may be served at 2675 Springside Court, Apt. 2B, Grand
Junction, Colorado 81506.

12. Upon information and belief, Defendant Claimant FREILLC-II is a company
organized under the laws of Colorado with its principal place of business in Colorado. This
Defendant Claimant may be served by and through its registered agent Rocky Royalties LLC, 324
Garden Street, Golden, Colorado 80403.

13. Upon information and belief, Defendant Claimant Friends of the Ainericas is a
nonprofit corporation organized under the laws of Louisiana with its principal place of business in
Louisiana. This Defendant Claimant may be served by and through its registered agent Diane A.
Jenkins, 918 North Foster Drive, Baton Rouge, Louisiana 70806.

14. Upon information and belief, Defendant Claimant Front Range Energy Investors
LLC is a company organized under the laws of Colorado with its principal place of business in
Colorado. This Defendant Claimant may be served by and through its registered agent Rocky

Royalties LLC, 324 Garden Street, Golden, Colorado 80403.

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15. Upon information and belief, Defendant Claimant George R. Salisbury Jr. Mineral
Trust is a trust administered under the laws of the State of Wyoming. This Defendant Claimant
may be served by and through its trustee, George R. Salisbury Jr., at PO Box 159, Savery,
Wyoming 82332, or wherever it may be found.

16. Upon information and belief, Defendant Claimant IRW Holding Company, LLC is
a company organized under the laws of Texas With its principal place of business in Texas. This
Defendant Claimant may be served by and through its registered agent WFMC, Inc., 71 l Louisiana
Street, Suite 1660, Houston, Texas 77002.

17. Upon information and belief, Defendant Claimant Jack Creek Land and Cattle
Company is a company organized under the laws of Wyoming with its principal place of business
in Wyoming. This Defendant Claimant may be served by and through its registered agent Kathryn
L. Sanger, 422 Jack Creek Road, PO Box 645, Saratoga, Wyoming 82331, or wherever it may
found.

18. Upon information and belief, Defendant Claimant the Jane Elizabeth Elwing Trust
is a trust administered under the laws of the State of Colorado. This Defendant Claimant may be
served by and through its trustee, Jane Elizabeth Elwing, at 619 S. Xenon Ct., Lakewood, Colorado
80228.

19. Upon information and belief, Defendant Claimant Joel I. Berson is an individual
residing in New York and may be served at 180 E. End Avenue, Apt. 7B, New York, New York
10128.

20. Upon information and belief, Defendant Claimant Weldon C. Julander Trust is a

trust administered under the laws of the State of Colorado. This Defendant Claimant may be

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served by and through its trustee, John Julander, at PO Box 2773, Littleton, Colorado 80161, or
wherever it may be found.

21. Upon information and belief, Defendant Claimant Kathleen S. Weber Revocable
Trust is a trust administered under the laws of the State of Wyoming. This Defendant Claimant
may be served by and through its trustee, Kathleen S. Weber, at PO Box 70, Baggs, Wyoming
82321, or wherever it may be found.

22. Upon information and belief, Defendant Claimant MAP 2003, L.L.C. is a company
organized under the laws of Oklahoma with its principal place of business in Oklahoma. This
Defendant Claimant may be served by and through its registered agent, Robertson & Williams,
Inc., 9658 N. May Ave., Suite 200, Oklahoma City, Oklahoma 73120.

23. Upon information and belief, Defendant Claimant MAP 2004, L.L.C. is a company
organized under the laws of Oklahoma with its principal place of business in Oklahoma. This
Defendant Claimant may be served by and through its registered agent, Robertson & Williams,
Inc., 9658 N. May Ave., Suite 200, Oklahoma City, Oklahoma 73120.

24. Upon information and belief, Defendant Claimant Mark S. Dolar Revocable Trust
is a trust administered under the laws of the State of Florida. This Defendant Claimant may be
served by and through its trustee, Mark S. Dolar, 1333 College Parkway, #172, Gulf Breeze,
Florida 32563.

25. Upon information and belief, Defendant Claimant Janet K. Dolar Revocable Trust
is a trust administered under the laws of the State of Florida. This Defendant Claimant may be
served by and through its trustee, Janet K. Dolar, 1333 College Parkway, #172, Gulf Breeze,

Florida 32563.

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26. Upon information and belief, Defendant Claimant Marshall & Winston, Inc. is a
corporation organized under the laws of Nevada With its principal place of business in Texas. This
Defendant Claimant may be served by and through its registered agent CT Corporation System,
1908 Thomes Ave., Cheyenne, Wyoming 82001.

27 . Upon information and belief, Defendant Claimant Merit Energy Company, LLC is
a company organized under the law of Delaware with its principal place of business in Texas. This
Defendant Claimant may be served by and through its registered agent, Corporation Service
Company, 1821 Logan Ave., Cheyenne, Wyoming 82001.

28. Upon information and belief, Defendant Claimant Merit Energy Partners III, L.P.
is a limited partnership organized under the laws of Delaware with its principal place of business
in Texas. This Defendant Claimant may be served by and through its registered agent, Corporation
Service Company, 1821 Logan Ave., Cheyenne, Wyoming 82001.

29. Upon information and belief, Defendant Claimant Merit Management Partners I,
L.P. f/k/a Merit Partners is a limited partnership organized under the laws of Delaware with its
principal place of business in Texas. This Defendant Claimant may be served by and through its
registered agent, The Prentice-Hall Corporation System, Inc., 1821 Logan Ave., Cheyenne,
Wyoming 82001.

30. Upon information and belief, Defendant Claimant M M Energy, Inc. is a
corporation organized under the laws of Oklahoma with its principal place of business in
Oklahoma. This Defendant Claimant may be served by and through its registered agent, Mike

Murphy, 13927 Quail Pointe Drive, Oklahoma City, Oklahoma 73134.

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31. Upon information and belief, Defendant Claimant EOG M Resources, Inc. f/k/a
MYCO Industries, Inc. is a corporation organized under the laws of New Mexico with its principal
place of business in New Mexico. This Defendant Claimant may be served by and through its
registered agent, CT Corporation System, Inc., 1908 Thomes Ave., Cheyenne, Wyoming 82001.

32. Upon information and belief, Defendant Claimant North Finn Limited Liability
Company is a company organized under the laws of Wyoming with its principal place of business
in Wyoming. This Defendant Claimant may be served by and through its registered agent, Thomas
F. Reese, 159 N. Wolcott, Suite 400, Casper, Wyoming 82601.

33. Upon information and belief, Defendant Claimant O’Connell Partners, L.P. is a
limited partnership organized under the laws of Delaware with its principal place of business in
Texas. This Defendant Claimant may be served by and through its registered agent, CT
Corporation System, 1908 Thomes Ave., Cheyenne, Wyoming 82001.

34. Upon information and belief, Defendant Claimant Pidgeon Cay Associates, LLC is
a company organized under the laws of Colorado with its principal place of business in Colorado.
This Defendant Claimant may be served by and through its registered agent, William C. Caile, 460
S. Marion Parkway, Suite 1856 B, Denver, Colorado 80209.

35. Upon information and belief, Defendant Claimant RJG, LLC is a company
organized under the laws of Kansas with its principal place of business in Kansas. This Defendant
Claimant may be served by and through its registered agent, RJG, LLC, 13879 W. 5th Terrace,
Shawnee, Kansas 80209.

36. Upon information and belief, Defendant Claimant Soccoro Properties, LLC is a

limited liability company organized under the laws of Colorado with its principal place of business

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in Colorado. This Defendant Claimant may be served by and through its registered agent,
Corporation Service Company, 1821 Logan Ave., Cheyenne, Wyoming 82001.

37 . Upon information and belief, Defendant Claimant Stelbar Oil Corporation, Inc. is
a corporation organized under the laws of Kansas with its principal place of business in Kansas.
This Defendant Claimant may be served by and through its registered agent, CT Corporation
System, 1908 Thomes Ave., Cheyenne, Wyoming 82001.

38. Upon information and belief, Defendant Claimant The Allar Company is a
company organized under the laws of rl`exas with its principal place of business in Texas. This
Defendant Claimant may be served by and_ through its registered agent, John C. Graham, 735 Elm
Street, Graham, Texas 76450.

39. Upon information and belief, Defendant Claimant Tourrnaline Exploration
Company, LLC is a limited liability company organized under the laws of Colorado with its
principal place of business in Colorado. This Defendant Claimant may be served by and through
its registered agent, Throne Law Office, P.C., 424 N. Main Street, Suite 201 , Sheridan, Wyoming
82801.

40. Upon information and belief, Defendant Claimant Walter S. Fees, Jr. & Son Oil
and Gas, LLC is a company organized under the laws of Colorado with its principal place of
business in Colorado. 'This Defendant Claimant may be served by and through its registered agent,
Walter S. Fees IV, 1723 Meadow Drive, Cheyenne, Wyoming 82001.

41. Upon information and belief, Defendant Claimant White Energy Corp. is a

corporation organized under the laws of Montana with its principal place of business in Montana.

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This Defendant Claimant may be served by and through its registered agent, Alexander K.
Davison, 1920 Thomes Ave., Suite 600, Cheyenne, Wyoming 82001.

42. Upon information and belief, Defendant Claimant Williamson Enterprises LLC is
a company organized under the laws of Colorado with its principal place of business in Colorado.
This Defendant Claimant may be served by and through its registered agent, Jeremy Adam
Williamson, 2618 Hollingboume Drive, Fort Collins, Colorado 80526.

43. Upon information and belief, Defendant Claimant Oxy Y-l Company f/k/a Yates
Drilling Company is a company organized under the laws of New Mexico with its principal place
of business in Texas. This Defendant Claimant may be served by and through its registered agent,
CT Corporation System, 1908 Thomes Ave., Cheyenne, Wyoming 82001.

44. Upon information and belief, Defendant Claimant EOG Y Resources, Inc. f/k/a
Yates Petroleum Corporation is a corporation organized under the laws of New Mexico with its
principal place of business in New Mexico. This Defendant Claimant may be served by and
through its registered agent, CT Corporation System, 1908 Thomes Ave., Cheyenne, Wyoming
82001.

45. This Court has jurisdiction over this statutory interpleader action pursuant to the
provisions of 28 U.S.C. § 1335(a) because:

a. Defendant Claimant Escalera Resources Co. and Anadarko Petroleum
Corporation, two adverse claimants, have complete diversity of citizenship
pursuant to 28 U.S.C. § 1335(a)(l) because Escalera Resources Co. is a
corporation organized under the laws of Maryland with its principal place of

business in Colorado, while Anadarko Petroleum Corporation is a corporation

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organized under the laws of Delaware with its principal place of business in
Texas;

b. The dispute between the Defendant Claimants involves claims to funds held in
an account by Plaintiff in excess of $500; and

c. Plaintiff has simultaneously herewith filed a Motion for Leave to Make Deposit
in Court seeking authority to transfer the funds to the Court. Ifgranted, Plaintiff
will forthwith deposit all sums being held into the registry of the Corut.

46. Venue is proper in this action pursuant to 28 U.S.C. § 1397 because numerous of
the Defendant Claimants, including North Finn Limited Liability Company, are residents of this
judicial district.

SUMMARY OF ADVERSE CLAIMS TO FUNDS

47. Plaintiff Stakeholder is a secured lender of Escalera Resources Co. (“_E&al§@”).
Escalera filed for bankruptcy protection on November 5, 2015. See Dkt. 1, In re Escalera
Resources Co., Case No. 15-22395-TBM, United States Bankruptcy Court for the District of
Colorado.

48. On November 6, 2015, Escalera filed its Statement of Financial Affairs with the
Bankruptcy Court, signed under penalty of perjury. See Dkt. 17. In response to a question in the
Statement of Financial Affairs which requested that Escalera “[l]ist all property owned by another
person that [Escalera] holds or controls,” Escalera did not list any funds held by Escalera for the
Defendant Claimants. ld. Moreover, Escalera’s Schedules, filed concurrently with its Statement

of Financial Affairs and also signed under penalty of perj ury, did not list the Defendant Claimants

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as creditors of Escalera. Thus, the initial declarations of Escalera made under penalty of perjury
provided that the amounts owed to Defendant Claimants was zero.

49. On March 16, 2016, Escalera amended its Schedules, listing the following
Defendant Claimants as general unsecured creditors of Escalera: ABO Petroleum Corp., Anadarko
Petroleum Corporation, Blackstone Natural Resources II, Blackstone Natural Resources II-B,
Cecil Ray Weber Revocable Trust, Clarence J. Wendt, David L. Bayer, Deanna Morrison,
FREILLC-II, Friends of America, Front Range Energy Investors LLC, George R. Salisbury Jr.
Trust, Henrietta L. Johnson, IRW Holding Company, Jack Creek Land, Jacqueline E. Chorney,
Janet K. Dolar Trust, Joel I. Berson, Kathleen S. Weber Revocable Trust, Lane Lasrich, MAP2003-
NET, MAP03 04, Mark S. Dolar Trust, Marshall & Winston, Merit Energy, Merit Energy Partners
III, Merit Mgmt Partners I LP, Merit Partners, MM Energy, MYCO Industries, Inc., North Finn,
LLC, O’Connell Partners LP, Patricia Wilson Schaefer, Pidgeon Cay Associates LLC, RJG
Company, Soccoro Properties, Soccoro Properties LLC, Stelbar Oil Corp., The Jane Elizabeth
Elwing Trust, Tourmaline Exploration Co., LLC, Walter S Fees, Jr. & Son Oil & Gas, LLC,
Weldon C. Julander Trust, Wendt Family Trust, White Energy Corp., Williamson Enterprises,
Yates Drilling Corp., and Yates Petroleum Corp. Escalera listed the total amount owing to these
parties as $111,788.90. This amount obviously differs from the previous stated amount of zero.
Although Escalera listed the foregoing Defendant Claimants as general unsecured creditors of
Escalera, the Schedules and Statement of Financial Affairs did not list an escrow account holding

amounts due to royalty owners.l

 

' Pursuant to the Wyoming Royalty Payment Act (the “WRPA”), in instances where payment cannot be made to
royalty owners within a time limit specified by the WRPA, “the lessee or operator, purchaser or other party legally
responsible for payment shall deposit all proceeds credited to the eventual interest owner to an escrow account in a
federally insured bank or savings and loan institution in Wyoming . . . .” Wyo. Stat. Ann. § 30-5-302.

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50. Ultirnately, Escalera’s bankruptcy case was dismissed on June 21 , 2018,

51. Following dismissal of the bankruptcy case of Escalera, and pursuant to its security
interest on substantially all of the assets of Escalera, on June 25, 2018, Plaintiff Stakeholder came
into possession of, among other amounts, $515,708.26 then held in Escalera’s general operating
account On July 25, 2018, bankruptcy counsel for Escalera provided Plaintiff Stakeholder with
information asserting that $515,708.26 in funds previously held in Escalera’s general operating
account, and subsequently swept by Plaintiff Stakeholder, were actually funds held on behalf of
unnamed overriding royalty interest holders in the State of Wyoming related to the Spyglass Hill
Unit in Wyoming’s Washakie Basin, thus establishing a third and different amount owed to
Defendant Claimants (as discussed above, the previous amounts provided were zero and
$111,788.90).

52. Upon information and belief, overriding royalty funds in Wyoming are the personal
property of the overriding royalty owner. Young v. Young, 709 P.2d 1254, 1257 (Wyo. 1985);
Ferguson v. Coronado Oil Co., 884 P.2d 971, 976 (Wyo. 1994). Consequently, any such funds
were not property of Escalera and thus not collateral of Plaintiff Stakeholder. Plaintiff Stakeholder
files this Complaint for Interpleader and Declaratory Relief in order for the rightful owners of the
$515,708.26 to receive their property.

53. After several weeks of investigation and with the assistance of Escalera’s
bankruptcy counsel, Plaintiff Stakeholder was able to ascertain the names of the overriding royalty
interest holders and the corresponding amounts of royalties held that make up the $515,708.26 at
issue. Attached hereto as Attachment A is a spreadsheet prepared by Escalera (and supplemented

with addresses by Plaintiff Stakeholder based on Escalera’s administrative bankruptcy filings)

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detailing the persons holding claims against the funds and Escalera’s calculation of the amount of
each claim against the $515,708.26.

54. While the spreadsheet attached hereto provides Plaintiff Stakeholder with some
guidance as to the amounts of claims against the $515,708.26, Plaintiff Stakeholder has been
unable to positively verify the amounts of such claims. Since receiving the funds, Plaintiff
Stakeholder has requested from Escalera documentation supporting the claimed amounts shown
in Attachment A. Escalera has failed provide such documentation Escalera’s bankruptcy counsel
indicated to Plaintiff Stakeholder that Escalera could not locate any supporting documentation for
the claimed amounts. Compounding the issue, upon information and belief, Escalera no longer
has any corporate employees-all of the officers and employees of Escalera have departed the
company. As a result, Plaintiff Stakeholder cannot verify with any degree of certainty the
information provided by Escalera in Attachment A.

55. Based on the disclosures made by Escalera in its bankruptcy proceeding, as
described above, and the fact that Plaintiff Stakeholder does not have the data underlying the
amounts described in Attachment A, Plaintiff Stakeholder cannot be sure of the entitlement of, and
amounts due, to each Defendant Claimant. Indeed, Escalera has asserted three differing amounts
owed to the Defendant Claimants since the start of its bankruptcy proceeding As a result, Plaintiff
Stakeholder risks duplicate liability for the funds. More precisely, if Escalera were to distribute
the funds according to Attachment A only to subsequently learn that (i) there are claims to the
funds in addition to those listed in Attachment A and/or (ii) the amounts listed in Attachment A
are incorrect, Plaintiff Stakeholder could be at risk of duplicate liability for the $515,708.26.

Absent a consolidated forum such as this Complaint for Interpleader and Declaratory Relief,

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Plaintiff Stakeholder cannot distribute funds according to the figures provided in Attachment A.
Therefore, this Court should grant the relief sought herein to permit the rightful owners of the
funds to receive their property and to alleviate Plaintiff Stakeholder’s risk of liability associated
with the distribution of the $515,708.26 fund.

INTERPLEADER

56. Plaintiff Stakeholder, Société Générale, acknowledges that the hinds at issue should
either be provided to the possible claimants or to Defendant, Escalera Resources Co.

51 . Plaintiff has no interest in or claim to the funds or in the claims of any of the adverse
claimants.

52. Under the provisions of f 28 U.S.C. § 1335(a), Plaintiff is entitled to join all
claimants to the funds in a single action and to require each to seek a judicial determination as to
lawful ownership of the disputed funds so as to avoid the possibility of multiple litigation and a
substantial risk of duplicate or inconsistent rulings on proper ownership of the funds.

53. Upon the authority of the Court, Plaintiff will deposit all sums into the registry of
the court.

54. Once the Court has ruled on the propriety of interpleader in this action, Société
Générale should be discharged from any further obligation in connection with the possible disputes
between Defendant, Escalera Resources Co., and all other Defendant Claimants in respect to the
ownership of the funds.

55. Plaintiff has incurred costs and reasonable attorneys’ fees in bringing this action in
an amount to be shown at a hearing concerning the propriety of interpleader and discharge of the

Plaintiff.

COMPLAINT FoR INTERPLEADER AND DECLARAToRY RELIEF
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WHEREFORE, Plaintiff Stakeholder, Société Générale, prays for the following relief:

A. That this Court permit Plaintiff to deposit the sum of 8515,708.26 with the Court and
following this deposit, that this Court relieve and discharge Plaintiff from any further
liability on any claim that has or may in the future be made concerning the funds or the
ownership of any such funds;

B. Tliat this Court determine which of the defendants named herein are entitled to the
funds, and any interest earned on the funds, or, in the alternative, the proportionate
share of each defendant in the funds',

C. That each of the Defendant Claimants be enjoined from instituting any action against
the Plaintiff for recovery of the funds;

D. That the Defendant Claimants be required to settle between themselves their rights to
the funds;

E. That Plaintiff Stakeholder be awarded its costs and attorney’s fees incurred in this

action.

DATEI) this 2151 day of December, 2018.

soCIETE GENERALE, PLAINTIFF sTAKEHoLDER

By; %f%“(@ {i:€

Randall B. Reed, Wyo. Bar No. 5-2863
Aaron J. Lyttle, Wyo. Bar No. 7-4726
Long Reimer Winegar Beppler LLP
2120 Carey Avenue, Suite 300
Cheyenne, WY 82001

(307) 63 5-0710_Telephone

(307) 63 5-041 3_Facsirnile
rreed@lrw-law.com
alyttle@lrw-law.com

 

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ADDRESSES ADDED BY BRACEWELL Total
ORRI Owner 1 Abo 105 S 4th St., Artesia, NlN 88210-2177 $ 0.65
ORRI Owner 2 APC P.O. Box 730875, Dal|as, TX 75373-0875 $ 266,374.18
ORRI Owner 4 Blackstone || 1001 Fannin St., Ste 2020, Houston, `D( 77002-6715 $ 3,998.62
ORRI Owner 5 Blackstone ||B 1001 Fannin St., Ste 2020, Houston, TX 77002-6715 $ 2,541.24
ORRl Owner 6 Ceci| Ray Weber P.O. Box 70, Baggs, WY 82321-0070 $ 13,633.08
ORRl Owner 7 Chorney $ 9,169.17
ORRl Owner 8 C. Wendt 5004 E. Albuquerque Rd., Reno, NV 89511-5608 $ 547.81
ORRI Owner 9 Deanna Morrison 2675 Springside Ct. #ZB, Grand junction, CO 81506-6007 $ 10,313.80
ORRl Owner 10 FRE|LLC-ll 324 Garden St., Golden, CO 80403-1558 $ 152.17
ORRl Owner ll Friends of Amerlca P.O. Box 10, Greenwe|l Springs, LA 70739-0010 $ 10,313.80
ORR] Owner 12 Front Range |nvestors 324 Garden St., Golden, CO 80403-1558 $ 4.37
ORR] Owner 13 G. Salisbury P.O. Box 159, Savery, WY 82332-0159 $ 20,627.66
ORRI Owner 14 |RW 711 Louisiana St., Ste 1660, Houston, TX 77002-2716 $ 34,752.78
ORR] Owner 15 lack Creek Land P.O. Box 1328, Saratoga, WY 82331-1328 $ 290.88
ORRI Owner 16 Jacqueline Chorney P.O. Box 280707, Denver, CO 80228-0707 $ 4,705.94
ORRI Owner 17 JE Elwig (Chorney) 619 S. Xenon Ct., Lakewood, CO 80228-2820 $ 23,168.53
ORRI Owner 19 Joel l Berson 180 E End Ave Apt 7B, New York, NY 10128-7765 $ 1,175.53
ORRI Owner 20 ju|ander Trust P.O. Box 2773, Litt|eton, CO 80161-2773 $ 53.59
ORRI Owner 21 Kathleen S. Weber P.O. Box 70, Baggs, WY 82321-0070 $ 13,633.08
ORRI Owner 22 MAP0304 P.O. Box 269031, Oklahoma City, OK 73126-9031 $ 386.80
ORRI Owner 23 MAP 2003-Net P.O. Box 268947, Oklahoma City, OK 73126-8947 $ 25,240.29
Mark 5. Dolar and Janet K.
ORRI Owner 24 Dolar 1333 College Pkwy #172, Gqu Breeze, FL 32563-2711 $ 253.99
ORRI Owner 25 Marsha|l & Winston P.O. Box 50880, Mid|and, TX 79710-0880 $ 2,781.81
ORRI Owner 26 Merit Energy P.O. Box 843727, Dal|as, TX 75284»3727 $ 417.29
ORRI Owner 27 Merit Energy Partners ||| P.O. Box 843727, Dal|as, TX 75284-3727 $ 12,105.67
ORRI Owner 28 Merit Mgmt 1 P.O. Box 843727, Dal|as, TX 75284»3727 $ 30,498.65
ORRI Owner 29 Merit Partners P.O. Box 843727, Dal|as, TX 75284-3727 $ 1,251.83
ORRI Owner 30 Mike Murphy $ 858.40
ORRI Owner 32 Myco P.O. Box 840, Artesia, NM 88211-0840 $ 0.65
ORRI Owner 33 North Finn P.O. Box 51208, Casper, WY 82605-1208 $ 8,797.07
ORRI Owner 34 O'Conne|| Partners P.O. Box 301491, Dal|as, TX 75303-1491 $ 10,018.61
ORRI Owner 35 U_g_§on Cay 460 S Marion Pkwy #1856B, Denver, CO 80209-5531 $ 13.39
ORRI Owner 37 RJG 200 E Flrst Ste 307, Wichlta, KS 67202 $ 154.09
ORRI Owner 38 Soccoro P.O. Box 1049, Bellairel TX 77402-1049 $ 154.09
ORRI Owner 39 Stelbar Oi| Corp 1625 N Waterfront Pkwy Ste 200, Wichita, KS 67206-6620 $ 154.09
ORRI Owner 41 The Allar Company $ 363.65
ORRI Owner 42 Tourmaline Exp|oration 2403 Tenderfoot Dr., Larkspur, CO 80118-8757 $ 3.01
ORRI Owner 43 Walter S Fees 2516 Foresight Cir #10, Grand Junction, CO 81505-1022 $ 154.09
ORRl Owner 45 White Energy P.O. Box 21495, Bi|lings, MT 59104-1495 $ 6,623.38
ORRI Owner 46 Williamson Enterprises P.O. Box 32570, Santa Fe, NM 87594-2570 $ 13.39
ORRI Owner 47 Yates Drilling P.O. Box 27570, Houston, TX 77227-7570 $ 0.65
ORRl Owner 48 Yates Fetro|eum 105 S 4th St., Artesia, NM 88210-2177 $ 6.48
515,708.26

 

 

 

 

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